                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         MATTICE/STEGER
                                              )
        v.                                    )         CASE NO. 1:15-CR-12
                                              )
 KIEL JACKSON                                 )




                                            ORDER

        On September 8, 2015, Magistrate Judge Christopher H. Steger filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count Two of the Superseding Indictment, conspiracy to distribute and possess

 with intent to distribute a mixture and substance containing methamphetamine, a Schedule II

 controlled substance, in violation of 21 USC '' 846 and 841(b)(1)(C), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count Two of the

 Superseding Indictment; (c) that a decision on whether to accept the plea agreement be deferred

 until sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter

 (Doc. 158). Neither party filed an objection within the given fourteen days. After reviewing the

 record, the Court agrees with the magistrate judge=s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant

 to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count Two of the

 Superseding Indictment, in exchange for the undertakings made by the government in the written

 plea agreement, is ACCEPTED;



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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count Two of the Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 February 8, 2016, at 2:00 pm.

        SO ORDERED.

        ENTER:

                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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